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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION

 CHRISTIAN HEATH CRAWFORD,                           )
                                                     )
               Plaintiff,                            )
                                                     )
 v.                                                  )
                                                     )     Case No: 7:21-cv-00419-TTC
 CREATIVE COST CONTROL                               )
 CORPORATION,                                        )
                                                     )
               Defendant.                            )

                             STIPULATION OF DISMISSAL

         The parties hereto stipulate and agree that this case is dismissed with prejudice

 pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party shall bear their own costs and attorney

 fees.

 Date: April 10, 2022


 AGREED:
  /s/ Brittany M. Haddox___________                /s/ James K. Cowan, Jr.___________
  Brittany M. Haddox, Esq. (VSB # 86416)           James K. Cowan, Jr., Esq. (VSB # 37163)
  Thomas E. Strelka, Esq. (VSB # 75488)            Eric Chapman, Esq. (VSB # 86409)
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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of April, 2022, a true and accurate copy of the

 foregoing was electronically provided to all counsel of record.


                                                          /s/ Brittany M. Haddox
                                                            Brittany M. Haddox




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